Case 2:04-cv-02827-BBD-dkv Document 16 Filed 08/11/05 Page 1 of 2 Page|D 23

 

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WESTERN DISTRICT OF TENNESSEEOS hug \ \ mm 23
WESTERN DIVISION MM. wm
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BETTY ANN LEWIS JUDGMENT IN A CIVIL CASE
CIGNA GROUP INSURANCE CASE NO: 04-2827~D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND.ADJUDGED that in accordance‘with the Order Of
Dismissal With Prejudice entered on August 3, 2005, this cause is
hereby dismissed with prejudice.

APPROVED:

 
  
 

 

  

DONLLD
TED STATES DISTRICT COURT

THOMASNLGOULD
Date Clerk of Court

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02827 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

